                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION

UNITED STATES OF AMERICA,                             )
               Plaintiff,                             )
                                                      )
               vs.                                    )       CASE NO. 5:95CR033
                                                      )       (Financial Litigation Unit)
BILLY RAY WILFONG,                                    )
               Defendant.                             )

                         ORDER ALLOWING REMISSION OF FINE

       This cause came on for consideration on petition of the United States of America in

accordance with 18 U.S.C.§ 3573 for remission in the amount of $15.00 for the balance of the fine

imposed on October 7, 1996. The Court is of the opinion that the petition is well taken in that the

cost to collect the fine exceeds the remaining balance. The fine balance of $15.00 is hereby remitted.




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                         Signed: October 14, 2005




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